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                                                                                                                                                             Application GRANTED. The parties shall file any application to
VIA ECF                                                                                                                                                      restore the action by June 5, 2024. So Ordered.
The Hon. Dale E. Ho
United States District Court                                                                                                                                 Dale E. Ho
Southern District of New York
                                                                                                                                                             United States District Judge
Thurgood Marshall Courthouse
                                                                                                                                                             Dated: May 2, 2024
40 Foley Square, Courtroom 905
                                                                                                                                                             New York, New York
New York, NY 10007

        Re:     Endurance American Insurance Company, as subrogee of Crystal Cove Seafood
                Corp. v. MSC Mediterranean Shipping Company S.A., et al.
                Case No.: 1:23-cv-08945-DEH
                Our File No.: 573-33
                _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




Dear Judge Ho:

        We represent plaintiff, Endurance American Insurance Company (“Plaintiff”), as
subrogee of Crystal Cove Seafood Corp. in the above-referenced action. We write to
respectfully request a 30-day extension of time to file an application to reopen this matter.

        Pursuant to your Order of March 20, 2024 [Dkt. # 43], the deadline to file an application
to restore this matter is May 6, 2024. While the parties have finalized the settlement agreement,
settlement funds have yet to be received. Therefore, we respectfully request the deadline to file
an application to restore this matter be extended up to June 5, 2024.

       We remain at the Court’s disposal to provide further information for purposes of this
request.

                                                                                                                                                                                                               Very truly yours,

                                                                                                                                                                                                               CASEY & BARNETT, LLC



                                                                                                                                                                                                               Teresa H. Dooley
THD/kc
cc:  All counsel of Record (via ECF)
